         Case 18-57061-pwb          Doc 8 Filed 04/27/18 Entered 04/27/18 10:37:23                  Desc New
                                     Petition Deficiency Notice Page 1 of 1
                      UNITED STATES BANKRUPTCY COURT, Northern District of Georgia
                                            Atlanta Division
                                      1340 United States Courthouse
                                        75 Ted Turner Drive SW
                                           Atlanta, GA 30303
                                         www.ganb.uscourts.gov
In Re:
         Latashia Monique Surrey                             Case No.: 18−57061−pwb
                                                             Chapter: 13
                                                             Judge: Paul W. Bonapfel

                  NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on 4/26/18, contains one or
more filing deficiencies which must be corrected. Deficiencies in the items listed below may include failure to file the
document, failure to sign the document or failure to submit the document on a form that substantially conforms to the Official
Bankruptcy Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms,
instructions and guidelines are on the court website www.ganb.uscourts.gov. Failure to correct a deficiency on or before the
deadline(s) shown below may result in dismissal of this case without further notice or opportunity for hearing.

To be filed by 05/03/18
None Apply

To be Filed by 05/10/18
Chapter 13 Plan, complete with signatures (to be served by debtor's counsel, if applicable)




To be filed by 05/26/18
None Apply


Failure to timely file missing documents or correct deficiencies may result in the dismissal of your bankruptcy case
without further notice or opportunity for hearing.

Dated: 4/27/18                                                 M. Regina Thomas
                                                               Clerk of Court
Form 430b December 2017                                        By: Tamra Campbell
                                                                Deputy Clerk
